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                       IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MINNESOTA

                                       CIVIL MOTION HEARING
Council on American - Islamic Relations -     )                     COURT MINUTES
Minnesota, et al.,                            )                    BEFORE: Nancy E. Brasel
                                              )                            U.S. District Judge
                                              )
                         Plaintiffs,          )     Case No:            20-cv-2195 (NEB/BRT)
                                              )     Date:               October 26, 2020
         v.                                   )     Courthouse:         Video Conference
                                              )     Courtroom:          NA
Atlas Aegis, LLC, et al.,                     )     Court Reporter:     Erin Drost
                                              )     Deputy:             Kristine Wegner
                         Defendants,          )     Time Commenced:     3:00 p.m.
                                              )     Time Concluded:     3:45 p.m.
                                              )     Time in Court       45 minutes



Motion Hearing on:     Motion For Temporary Restraining Order [4]
         Plaintiffs:     Ben Clements, Amy Erickson, Debra Greenberger, John Bonifaz, Jonathan Abady, Julia
                         Dayton Klein, Matthew Brinckerhoff, Ronald Fein and Vivake Prasad

         Defendants:     Terrance Moore and Carol Moss




PROCEEDINGS:
The Motion for TRO was moved, argued and taken under advisement. Order to be filed.


Date: October 26, 2020                                    s/Kristine Wegner
                                                          Courtroom Deputy to Judge Nancy E. Brasel
